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                         UNITED STATES DISTRICT COURT
                                DISTRICT OF NEVADA

  JAMES O’DOAN,

                Plaintiff(s),
         vs.

  RENO POLICE OFFICER JOSHUA                      Case No.​ 3:17-cv-00293-LRH-VPC
  SANFORD, RENO POLICE
  OFFICER CADE LEAVITT, and
  THE CITY OF RENO, a political                   NOTICE OF APPEAL
  subdivision of the State of Nevada; and
  JOHN DOES I through X, inclusive

               Defendant(s).
  ________________________________/




      Notice is hereby given that JAMES O’DOAN, Plaintiff in the above-named case,

hereby appeals to the United States Court of Appeals for the Ninth Circuit from the Order

granting summary judgment entered in this action on March 26, 2019, attached hereto as

Exhibit 1.

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                         ​REPRESENTATION STATEMENT

      The undersigned represents Plaintiff JAMES O’DOAN and no other party. Pursuant

to Rule 12(b) of the Federal Rules of Appellate Procedure and Circuit Rule 3-2(b),

Plaintiffs-Appellants submit this Representation Statement. The following list identifies all

parties to the action, and it identifies their respective counsel by name, firm, address,

telephone number, and e-mail, where appropriate:

      Plaintiff

      JAMES O’DOAN
      Counsel of Record:

      Luke Busby, Esq.
      316 California Ave.
      Reno, Nevada 89501
      (775) 453-0112 (Dial Area Code)
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      Defendants

      RENO POLICE OFFICER JOSHUA SANFORD;
      RENO POLICE OFFICER CADE LEAVITT; and
      THE CITY OF RENO, a political subdivision of the State of Nevada
      Counsel of Record:

      Mark A. Hughs, Esq.
      Reno City Attorney's Office
      P.O. Box 1900
      Reno, NV 89505
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      ///


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Respectfully submitted this April 2, 2019:

                                             By: ​__________________________
                                             Luke Busby
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                                ​CERTIFICATE OF SERVICE

       I hereby certify that on April 2, 2019, I electronically transmitted the foregoing

pleading to document to the Clerk’s Office using the CM/ECF System for filing and

transmittal of a Notice of Electronic Filing to all counsel registered to receive Electronic

Filings and/or I mailed the foregoing pleading to the address below by US Mail postage

prepaid, and/or I hand delivered the foregoing to:

Mark A. Hughs, Esq.
Reno City Attorney's Office
P.O. Box 1900
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775-334-2050
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Attorney for the Defendants


By: ______________________________
Luke Busby




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                             Exhibit List

1. March 26, 2019 Order




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